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UNITED STATES DISTRICT COURT

US. DISTRICT COURT - NLD. OF NY. (UY
NORTHERN DISTRICT OF NEW YORK | LE

 

 

 

 

 

 

 

 

 

JUN 11 2003
DAVID PEARLMAN,
AT. O'CLOCK
Plaintiff, Lawrence K Baerman, Clk Bighanton |
-against- 4‘ 01-cv-504

COOPERSTOWN CENTRAL SCHOOL DISTRICT and
MARY JO MCPHAIL,

Defendants.

 

DECISION & ORDER

McAvoy, D.J.:

Plaintiff brought this action pursuant to 42 U.S.C. § 1983
alleging that Defendants violated the Due Process clause, the Equal
Protection clause, and the First Amendment rights of free speech
and association. Presently before the Court are cross-motions for
summary judgment.

I. Background!

Plaintiff was a tenured principal at Cooperstown Central
Middle School. The elementary school, middle school and high
school are all in the same buildings. Defendant Mary Jo McPhail

(“McPhail) is the superintendent of the Cooperstown Central School

 

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The facts are taken largely from the Decision of the Hearing
Officer who presided over Plaintiff's disciplinary hearing and are
Supplemented by the parties’ statements of facts not in dispute.

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District (“the school district”) and was Plaintiff’s supervisor.
“MB” was a female student at the high school. “E” is her younger
sister who was also a student at the high school.

A. Initial Concerns

Plaintiff apparently met MB while she was a student in his
Sixth grade class. In the seventh grade, MB began to babysit for

Plaintiff’s two children. This continued for some time. During

 

the 1997-1998 school year, while MB was in the 10% grade, teachers
and staff began to express concern over the relationship between MB
and Plaintiff. In particular, concern was expressed because
Plaintiff would regularly call MB out of class over the public
address system, cause her to be late to classes, and frequently had
conversations with her in his office with the door closed. These
concerns continued into MB’s junior year. In February of 1998,
McPhail warned Plaintiff that he should cease his personal contacts
with MB, that he should not have her in his office with the door
Closed, and that he should limit his contact with her to school
related purposes.* In January of 1999, McPhail repeated these
directives in a written warning issued to Plaintiff and insisted
that Plaintiff cease personal contact with MB. Plaintiff continued

to seek out MB and to engage in behavior that caused faculty and

 

* There is some indication that at some point in the process,

MB's parents were contacted and expressed concern over MB’s
relationship with Plaintiff. The record is not clear as to when
this occurred.

 

 
 

 

 

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staff to have concerns. On April 7, 1999, Plaintiff was seen
hugging MB in her home room class. A teacher expressed her
personal concern to Plaintiff. Plaintiff then told McPhail about
this incident rather than have it reported by the teacher.
Plaintiff states that the hug was to congratulate MB for a good

track performance.

 

B. Disciplinary measures

Following the April 7 incident, Plaintiff was given the option
of taking sick leave for the remainder of the spring through
November 4, 1999 or being suspended pursuant to New York Education
Law § 3020-a.? Plaintiff took sick leave. During this time, the
school district engaged in an investigation. On November 3, 1999,
the School Board determined that there was probable cause to
institute disciplinary charges against Plaintiff. The following
day, Plaintiff was suspended pursuant to N.Y. Epuc. L. § 3020-a.
Plaintiff requested a hearing.

From November 4, 1999 until the date the hearing was resolved,
Plaintiff was forbidden from entering on school property without
the permission of McPhail. During this time, Plaintiff made
approximately 102 requests to attend events on school property.
Three of these requests were denied by McPhail because MB would be

on school property at the same time as Plaintiff.

 

> Defendant disputes that Plaintiff was forced into this
choice. See Def. Response to Pl. 7.1 Stat., 4 8.

 

 
 

 

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Cc. Hearing Officer’s Determinations

The hearing lasted several months and concluded on January 2,
2002. Plaintiff was found guilty of conduct unbecoming a principal
because he had met with MB behind closed doors in his office,
caused her to be late to class, and regularly telephoned MB at her
home, not only for babysitting services but also for other personal

conversations. In addition, the Hearing Officer found that

 

Plaintiff regularly used the school’s public address system to call
MB into his office to discuss personal topics with her and that
Plaintiff had given MB a very personal poem.

Plaintiff was additionally found guilty of insubordination.
The Hearing Officer found that on Feburary 4, 1998, McPhail met
with Plaintiff and directed him to never again have MB in his
office with the door closed; to engage MB in conversation only for
reasons related to his job; and to engage in conversations with MB
only in a public setting. The Hearing Officer further found that
despite these directions, Plaintiff continued to contact MB for
personal reasons both at school and at her home, and closed the
door to his office with MB inside on one occasion.

The Hearing Officer determined that Defendant McPhail again
met with Plaintiff on January 8, 1999 and repeated her directions
that Plaintiff not have unnecessary contact with MB and that all
contact be school related and take place ina public place.

Following this meeting, McPhail put this information in a written

 

 
 

 

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memorandum and sent it to Plaintiff. The Hearing Officer found
that despite this second warning, Plaintiff repeatedly followed MB
around school, made excuses to contact her, and regularly engaged
her in non-business related conversations. Further, the Hearing
Officer found that Plaintiff followed MB to her empty home room
and was observed hugging her prior to class and that on one
occasion, he went to her computer class and held up signs that
said “sorry” and “I miss you.”

Plaintiff was given a three month suspension without pay.
Thereafter, Plaintiff returned to work and instituted this

lawsuit.

II Discussion
A. Standard for Summary Judgment

It is well settled that on a motion for summary judgment, the
Court must construe the evidence in the light most favorable to
the non-moving party, see Tenenbaum v. Williams, 193 F.3d 581, 593
(2d Cir. 1999), cert. denied, 529 U.S. 1098 (2000), and may grant
summary judgment only where "there is no genuine issue as to any
material fact and ... the moving party is entitled toa judgment
aS a matter of law." Fep. R. Civ. P. 56(c). An issue is genuine if
the relevant evidence is such that a reasonable jury could return
a verdict for the nonmoving party. Anderson v. Liberty Lobby, 477

U.S. 242, 248 (1986).

 

 

 
 

 

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A party seeking summary judgment bears the burden of
informing the court of the basis for the motion and of identifying
those portions of the record that the moving party believes
demonstrate the absence of a genuine issue of material fact as to
a dispositive issue. Celotex Corp. v. Catrett, 477 U.S. 317, 323
(1986). If the movant is able to establish a prima facie basis
for summary judgment, the burden of production shifts to the party
Opposing summary judgment who must produce evidence establishing
the existence of a factual dispute that a reasonable jury could

resolve in his favor. Matsushita Elec. Indus. Co. v. Zenith Radio

Corp., 475 U.S. 574, 587 (1986).
B. The Complaint
1. Due Process

In order to survive summary judgment on the alleged
deprivation of due process, plaintiff must put forward evidence,
“(1) that he had a protectible property . . . interest; (2) that
he was deprived of that interest; and (3) the deprivation was
effected without due process.” Monroe v. Schenectady County, 1
F.Supp.2d 168, 171 (N.D.N.Y. 1997) (citations omitted).

Whether a property interest exists is determined by state
law. Flood v. Co. Suffolk, 820 F.Supp. 709, 712 (E.D.N.Y.

1993) (citations omitted). Plaintiff alleges that New York
Education Law section 3020-a provides him with a property interest

in not being suspended from his job prior to an administrative

 

 

 
   

  

 

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hearing. Section 3020-a(b), however, provides: “[{t]he employee
may be suspended pending a hearing on the charges and the final
determination thereof. The suspension shall be with pay .. .”
Consequently, Section 3020-a does not provide Plaintiff with a
right not to be suspended prior to the hearing officer's
determination. Indeed, the law specifically provides for
suspension prior to the hearing as long as that suspension is with
pay. There is no allegation here that Plaintiff’s suspension was
without pay. Consequently, Plaintiff has no property interest in
a pre-suspension hearing. See Gouldin v. Board of Education of
Central School District, 357 N.Y.S.2d 867, 870 (2d Dep’t 1974)
(suspension prior to hearing not unconstitutional.)

Plaintiff also contends that he had a liberty interest in
attending events on school property without first having to ask
McPhail’s permission. Plaintiff does not, however, cite to any
state law or authority granting him unfettered access to school
property, either as a citizen or a parent. Indeed, the New York
Court of Appeals has held that local school districts have great
discretion in determining who shall have access to school property
and school students. See Lloyd v. Grella,83 N.Y.2d 537, 547
(1994). “The long-standing deference afforded local school boards
to exercise ultimate authority for access to students, school
buildings and school property generally is well founded.” Id.; see

also Hone v. Cortland City School District, 985 F.Supp. 262, 272

    

 

 

 
 

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(N.D.N.Y. 1997) (“Looking to New York State law, the court can
find no support for the proposition that Plaintiff enjoyed any
right of access to school property.”). Even where a school board
member was denied access to schools except to perform his limited
function, the Second Circuit found no right had been violated.
See Silano v. Sag Harbor Union Free School District Board of
Education, 42 F.3d 719, 724 (2d Cir. 1994), cert. denied 515 U.S.
1160 (1995) (“Silano did not have an unrestricted right to enter
the school classrooms or hallways”).

Further, Plaintiff was provided with access to the school
property when he requested it on all but three occasions. On
these three occasions, McPhail concluded she could not prevent
contact between Plaintiff and MB or her younger sister E. See
Silano, 42 F.3d at 724 (no liberty interest implicated where board
member provided access sufficient to complete necessary work).
Plaintiff has failed to come forward with any state granted right
to access school property at his choosing. Consequently,
Plaintiff's due process claim is dismissed.

2. Equal Protection

Plaintiff next argues that he was denied equal protection by
not being allowed on school property and not being given different
work assignments. “The Equal Protection Clause requires that the
government treat all similarly situated people alike.” Harlen

Associates v. Incorporated Village of Mineola, 273 F.3d 494, 499

 

 
 

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(2d Cir. 2001) (citing City of Cleburne v. Cleburne Living Ctr.,
473 U.S. 432, 439 (1985)). To allege a violation of the Equal
Protection Clause, the Plaintiff must put forward evidence

(1) that [he was] treated differently from other

Similarly situated individuals, and (2) that such

differential treatment was based on ‘impermissible

considerations such as race, religion, intent to inhibit

or punish the exercise of constitutional rights, or

malicious or bad faith intent to injure a person.’

Harlen Associates, 273 F.3d at 499 (quoting LeClair v. Saunders,
627 F.2d 606, 608-610 (2d Cir. 1980); LaTrieste Rest. & Cabaret v.
Village of Port Chester, 40 F.3d 587, 590 (2d Cir. 1994)).

Here, Plaintiff was clearly treated differently than other
school district employees in that he was suspended from his
position for a period of time.* Plaintiff has failed, however, to
proffer evidence from which a reasonable trier of fact could
conclude that the difference in treatment was based on some
impermissible consideration. Plaintiff has not even put forward
evidence from which a reasonable trier of fact could find a bad
faith intent to injure him in some way. The School District has
contended, and Plaintiff has not refuted that Plaintiff’s

suspension and order to stay off of school property were in place

because of Plaintiff's failure to avoid contact with MB. The

 

“ It is questionable whether Plaintiff was Similarly situated

to other school district employees. Plaintiff identifies no other
school district employees who were accused of having inappropriate
relationships with students, or any other school district employees
who were under suspension but were treated differently.

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School District had an interest in preventing further contact
between Plaintiff and MB.

Additionally, the school district became aware that Plaintiff
had, on at least one occasion, attempted to contact MB through her
younger sister E. Finally, Plaintiff was granted access to the
school property on each occasion he requested access except the
three instances where contact with MB was determined to be
unavoidable.

With regard to Plaintiff's claim that he was treated
differently than other school district employees because he did
not have work to do, Plaintiff again fails to put forward any
evidence of an impermissible motive.® Plaintiff stated at his
deposition that he did have periodic assignments during the first
year of the suspension, but that during the second year he had no
work to do. Pl. Dep. p. 77-79. Even assuming that Plaintiff had
absolutely nothing to do during the second year of his suspension,
Plaintiff has failed to put forward any evidence that this was
because of a desire to maliciously harm him. Indeed, Plaintiff
does not put forward any evidence of any malicious intent in not
providing him additional work duties. Because Plaintiff has
failed to put forward any evidence from which a reasonable trier

of fact could conclude he was treated differently for some

 

° Again, it is questionable whether there are any other

Similarly situated employees. Plaintiff does not identify what
treatment was given to other employees on suspension.

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impermissible reason, Plaintiff’s equal protection claim must be

dismissed.

3. Free Speech and Association

Plaintiff’s third claim is that his rights to free speech and
association were infringed when he was instructed not to
“harrass[] or tak[e] any retaliatory action against any teacher or
student involved in this case or their friends or relatives, or
any other potential witnesses for the district.” Pl. Mem. L. 15.
Plaintiff also seems to assert his First Amendment rights were
infringed when he was not permitted to contact MB in any way.

The Court must first begin with the proposition that casual

conversation is not protected by the First Amendment. See Swank

 

v. Smart, 898 F.2d 1247, 1251 (7%. Cir. 1990). Plaintiff does not
assert that he sought to speak out against some public policy or
challenge his own dismissal, but was prohibited from doing so.
Compare Gros v. Port Washington Police District, 944 F.Supp. 1072,
1077 (B.D.N.Y. 1996). Rather, he seeks to assert a right to
converse with various school district individuals, a right not
protected by the First Amendment. Consequently, Plaintiff has
failed to establish that his First Amendment rights were violated.
Even if the Court were to apply the test Plaintiff suggests,
based on the regulation of the content of his conversations with

others while on school property, he could not prevail. As this

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Court has previously held, a school, during school hours, is a

non-public forum. See Hone, 985 F.Supp. at 271. Thus, the

 

restrictions on conversations with school employees and students
will be upheld if they are “reasonable and narrowly tailored.”
Id.; Kuntz v. New York State Bd. of Elections, 924 F.Supp. 364,
371 (N.D.N.Y. 1996), aff'd, 113 F.3d 326 (2d Cir. 1997).

The restrictions at issue prohibit Plaintiff from harassing
or retaliating against teachers or students involved in his
disciplinary action. There is nothing vague about those terms.
Further, it was reasonable for the school district to require
Plaintiff not to harass or retaliate against teachers or students
at the school. Plaintiff has put forward no evidence that the
words “harass” or “retaliate” were construed by McPhail or the
School District in some way that violated his constitutional
rights. It is sheer conjecture that the terms “harass” and
“retaliate” would have been construed to prevent Plaintiff from
all contact with teachers and students. Such conjecture is
insufficient on a motion for summary judgment. See Matsushita
Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

With regard to MB, the requirement that Plaintiff cease
contact with her was reasonably tailored to prevent the further
appearance of an inappropriate relationship, to assuage the
concerns of faculty and staff at the school, and to ease MB’s

parents’ concerns regarding the relationship. Plaintiff has

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failed to put forward any evidence from which it could be found
that some less restrictive rules would have achieved these goals.
Consequently, his First Amendment claims must be dismissed.
4. Travel

Finally, Plaintiff asserts that his right of “travel” was
impeded by the requirement that he not enter school property
without permission. As the Court has already noted, Plaintiff had
no right to enter school property, and the regulation of the
School Board in this respect was reasonable.

Cc. Qualified Immunity

In the alternative, Defendant McPhail is entitled to
qualified immunity. In determining whether qualified immunity
applies, the Court must first consider whether “a constitutional
right would have been violated on the facts alleged.” Saucier v.
Katz, 533 U.S. 194, 200 (2001). The Court has already determined
that no constitutional right of Plaintiffs was violated here.
But, assuming arguendo that one was violated, the Court finds that
a reasonable superintendent in McPhail’s position would not have
known that her conduct was unlawful. See Saucier, 533 U.S. at
198; Cerrone v.Brown,246 F.3d 194, 202 (2d Cir. 2001); Vega v.
Miller, 273 F.3d 460, 466 (2d Cir. 2001). McPhail attempted,
through two meetings with Plaintiff, to make him aware of the
seriousness of the situation, and, when Plaintiff was unable to

control himself, McPhail removed him from the school to protect

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the reputation of the school district as well as to protect a
minor student. McPhail’s acts of requiring Plaintiff to gain
permission prior to entering school property were reasonably
related to her goal of protecting the school district and the
student in question. Further, she did not unreasonably deny
Plaintiff the opportunity to enter the school property.
Consequently, at the very least, reasonable superintendents could
disagree whether McPhail’s actions violated Plaintiff's
constitutional rights.

Because of the foregoing, the Court does not address the
remaining arguments of the parties.

IIr. Conclusion
Defendant’s motion for summary judgment is granted.
Plaintiff's cross-motion for summary judgment is denied. The

Clerk is directed to close the file.

IT IS SO ORDERED

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June ff, 2003 Bi J Dh Bees

Hon. Thomas J. esey
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